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                                                                January 5, 2021
   VIA ECF

   Honorable Loretta A. Preska
   United States District Court
   Southern District of New York
   500 Pearl Street
   New York, NY 10007-1312

           Re:      Giuffre v. Dershowitz, Case No.: 19-cv-03377-LAP
                    Giuffre v. Maxwell, Case No.: 15-cv-07433-LAP

   Your Honor:

           Professor Dershowitz has reviewed the submission made by non-party John Doe, ECF No. 1182
   in Giuffre v. Maxwell, in which Mr. Doe takes issue with the agreed-upon Protective Order entered by
   the Court as ECF No. 227 in Giuffre v. Dershowitz. Specifically, Mr. Doe asserts that the Protective
   Order permits the parties in Giuffre v. Dershowitz to file sealed material from Giuffre v. Maxwell to the
   public docket in Dershowitz without prior judicial approval.

          Professor Dershowitz reiterates and incorporates by reference his prior objections to John Doe’s
   repeated attempts to assert himself into these proceedings, particularly where it appears that Mr. Doe
   never provided any discovery in reliance on the Protective Order in Giuffre v. Maxwell and therefore has
   no rights under the same. See August 24, 2020 Letter from Ansari and Cooper in Giuffre v. Dershowitz,
   ECF No. 171.

          Regardless, Mr. Doe’s interpretation of the recently-entered Protective Order in Dershowitz is
   incorrect. The Court will recall that Ms. Giuffre has, for the sake of efficiency, re-produced in the
   Dershowitz case her document productions from the Maxwell case with whatever confidentiality
   designations were originally applied in the Maxwell case. Recognizing that some documents which Ms.
   Giuffre designated as confidential in Maxwell may not appropriately be designated as confidential in
   Dershowitz, the Protective Order provides a procedure whereby Ms. Giuffre will consider removing
   such inappropriate designations upon request. The Protective Order does not purport to confer authority
   on either party to publicly file any sealed documents from the Maxwell case without first seeking leave
   of Court. Mr. Doe’s concerns are thus without merit and the Court should deny his request as moot.


                                                       Respectfully submitted,

                                                       /s/ Howard M. Cooper
                                                       Howard M. Cooper

   cc:     All counsel of record, via ECF and email




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